       IN THE UNITED STATES DISTRICT COURT                           
    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA                          

ROTEX GLOBAL, LLC                  :                                      
                              :    CIV NO. 1:17-CV-2118              
                              :                                      
     Plaintiff,               :    (Chief Judge Conner)              
                              :                                      
v.                                 :    (Magistrate Judge Carlson)        
                              :                                      
GERARD DANIEL WORLDWIDE, INC. :                                           
                              :                                      
     Defendant.               :                                      

               MEMORANDUM OPINION                                    

I.   Factual Background                                              
We  are  overseeing  on-going  discovery  disputes  in  this  complex  patent 
litigation. As part of this process, we have emphasized for all counsel our view that 
discovery in this case should be conducted in a symmetrical fashion, with the 
greatest degree of transparency possible, consistent with legitimate concerns relating 
to confidentiality of trade information. We also underscored for all counsel our view 
that they should work cooperatively to tailor discovery to the needs of the case and 
noted that clear communications between counsel are essential to achieve these 
goals.                                                                    
Notwithstanding our expression of these aspirational goals, the parties remain 
embroiled in a discovery dispute relating to a motion to compel discovery filed by 
the plaintiff, Rotex. (Doc. 107). In this motion to compel, Rotex seeks two forms of 
relief. First, it asks that we direct Gerard Daniel Worldwide (GDW) to re-designate 

customer lists, which it had previously identified under a stipulated protective order 
as “Highly Confidential,” as merely “Confidential”. The effect of this re-designation 
would be to allow Rotex’s counsel to share GDW’s customer lists with officials at 

Rotex.  Additionally, or in the alternative, Rotex argues that GDW has redacted the 
identities of these customers from its “Highly Confidential” discovery disclosures.  
Rotex contends that these redactions should be removed because the identity of the 
GDW customers is an important element of proof in Rotex’s claims that GDW 

infringed its patent and then used that infringed patent to market equipment to Rotex 
customers. According to the plaintiff, the actual identity of the GDW customers is a 
crucial component to showing the loss of sales suffered by Rotex since it would 

demonstrate which former Rotex customers later purchased infringing goods from 
GDW.                                                                      
For its part, GDW has responded to the twofold argument advanced by Rotex 
with a twofold rejoinder. First, GDW argues that Rotex is not entitled to compel it 

to re-designate customer information as merely “Confidential” rather than “Highly 
Confidential” since the parties’ stipulated protective order expressly allows for the 
designation of customer information as “Highly Confidential.” In addition, citing 

primarily to cases which have allowed the redaction of sensitive but irrelevant 
information  from  documents,  GDW  contends  that  Rotex’s  argument  that  the 
identities of customers potentially lost by Rotex due to GDW’s alleged infringement 

is relevant to its claims and loss calculations, “while superficially appealing, really 
makes little sense,” since other factors may potentially also affect Rotex’s sales. 
(Doc. 135, at 17).                                                        

With Rotex’s claims, and GDW’s rejoinders, framed in this manner, it is 
apparent that this motion to compel in the first instance stems out of a dispute 
between  the  parties  regarding  the  meaning  and  interpretation  of  a  stipulated 
protective order entered into by the litigants in November of 2017. (Doc. 73). Such 

stipulated protective orders are a commonplace feature of complex commercial 
litigation where sophisticated parties are engaged in a dispute that may require the 
disclosure  of  sensitive  business  information.  The  stipulated  protective  order  is 

designed to allow this discovery process to move forward in a fashion that allows 
for the sharing of information while protecting client confidences. When this process 
works correctly, it eliminates the need for discovery litigation. However, when—as 
in this case—the process breaks down, the court is called upon to intervene. 

Given the nature of this particular dispute, our consideration of the parties’ 
contentions begins with the language of their November 2017 stipulated protective 
order.  (Doc.73).  That  order,  which  provides  a  process  for  disclosing  sensitive 

commercial  information,  allows  parties  to  designate  information  as  either 
“Confidential”  or  “Highly  Confidential,”  and  defines  these  designations  in  the 
following terms:                                                          

For purposes of this Protective Order, the term “Confidential” shall 
mean any and all documents, materials, or information concerning the 
products,  projects,  activities,  intellectual  property,  marketing, 
promotion, business, or financial affairs of any party to the Action 
acquired in the course of the party’s respective work that such party 
believes in good faith would qualify for a protective order if sought 
from the Court. For purposes of this Protective Order, the term “Highly 
Confidential”  shall  mean  any  and  all  Confidential  Material  that 
qualifies as “Confidential” and further relates to financial information 
about the party, future business plans, pending patent applications, 
customer information, competitive information, product formulation   
details, trade secret information, or proprietary computer source code.   

(Id., ¶ 4).                                                               

The  protective  order  then  prescribes  how  “Confidential”  and  “Highly 
Confidential” information may be disseminated and used by the parties in their 
litigation.  In  this  regard,  the  order  provides  the  following  with  respect  to  the 
disclosure of “Confidential Information”:                                 
Confidential information shall be disclosed only to:                 

(a)  No more than two employees, officers, or board members of each party, 
to be designated as such by each party in writing prior to disclosure;   
(b)  This Court and any court to which an appeal might lie, including court 
personnel and trial jurors;                                          
(c)  Outside litigation counsel of record for the non-designating parties, 
together with their respective associate attorneys and office personnel 
employed or engaged in the preparation for, or aiding in the trial of, the 
Action;                                                              
(d)  Outside vendors who perform microfiching, photocopying, computer     
classification, or similar clerical functions, but only for so long as and 
to the extent necessary to perform those services;                   
(e)  Court reporters and other persons engaged in preparing transcripts of 
testimony of hearings in the Action;                                 
(f)  Outside experts and/or advisors consulted by counsel in connection   
with the Action, whether or not retained to testify at trial, except that, 
absent  written  consent  from  the  Designating  Party,  no  party  shall 
disclose Confidential Material to any expert or advisor, or to such  
person’s support personnel, if such person currently or at any time in 
the past has been an employee, contractor, or customer of any of the 
parties;                                                             
(g)  Jury selection consultants, and participants in any mock trial or similar 
simulation, employed for purposes of trial preparation in this matter but 
only for so long as and to the extent necessary to perform those services;   

(h)  Witnesses at any deposition in the Action, subject to the provisions of 
paragraphs 11, 12, and 13 of this Protective Order to the extent that the 
witness  is  reflected  on  the  face  of  the  document,  or  is  reasonably 
believed by counsel to be, a writer or a recipient of the document; and   
(i)  Any other persons to whom the Designating Party agrees in writing.   
(Id., ¶ 6).                                                               
As might be expected, the stipulated protective order then affords a heightened 
level of protection to information designated as “Highly Confidential,” stating that: 
In the event that a party designates information as Highly Confidential, 
the information shall be treated the same as and shall be subject to the 
same procedures as set forth in this Protective Order for information 
designated Confidential, except that such information shall be disclosed 
only to persons identified in subparagraphs b-h of Paragraph 6 above.   

(Id., ¶ 8).                                                               
While  cast  in  a  somewhat  oblique  fashion,  what  this  provision  of  the 
protective order does by indirection is twofold: First, it allows litigating counsel and 

outside experts access to “Highly Confidential” but relevant information so that they 
may use that information to advance claims or prepare defenses. In addition, though, 
this provision of the order ensures that “Highly Confidential” data will not be shared 

with representatives of the opposing party, who might otherwise be tempted to 
utilize this information to gain some unfair competitive commercial advantage over 
a business rival.                                                         
The protective order then provides a mechanism for parties to challenge 

designations of data as either “Confidential” or “Highly Confidential,” stating that: 
If  any  documents,  information,  or  testimony  are  designated  as 
Confidential or Highly Confidential, but are not believed in good faith 
to be Confidential or Highly Confidential by any Receiving Party, that 
party shall notify the Designating Party, in writing, and request a release 
of confidentiality. If such a release is not forthcoming within five (5) 
days, the objecting party may apply to the Court for an order requiring 
the release of confidentiality. On any motion to the Court regarding a 
claim of confidentiality, the party seeking to assert confidentiality shall 
have the burden of proof.                                            

(Id., ¶ 15).                                                              

While  the  protective  order  provides  these  procedures  for  the  sharing  of 
“Confidential” and “Highly Confidential” information, the stipulated order does not 
appear to provide any redaction guidelines for use by the parties.        
Guided by the terms of this protective order, we turn to a consideration of this 
instant motion to compel. For the reasons set forth below, this motion will be 

GRANTED in part and DENIED in part as follows: First, to the extent that Rotex 
seeks to have highly confidential customer information of GDW re-designated as 
confidential, the motion is DENIED, since the highly confidential designation made 

by GDW is proper under the protective order and is fully justified in order to avoid 
direct disclosure of customer information to corporate representatives of Rotex. 
However, to the extent that Rotex’s motion seeks the release of this customer 
information in a highly confidential manner but without redaction, the motion is 

GRANTED since the customer information is relevant to Rotex’s calculation of its 
potential losses, and the highly confidential designation of this information, which 
we  have  sustained,  adequately  protects  this  data  from  improper  disclosure  to 

representatives of the opposing party who might gain some unfair competitive 
commercial advantage through a direct disclosure of this data.            
II.  Discussion                                                      
     A. Guiding Legal Principles                                     

The resolution of this discovery dispute is guided by familiar legal principles. 
At the outset, Rule 37 of the Federal Rules of Civil Procedure governs motions to 
compel discovery, and provides that:                                      

(a) Motion for an Order Compelling Disclosure or Discovery           
(1) In General. On notice to other parties and all affected persons, a 
party may move for an order compelling disclosure or discovery. . . .  

Fed. R. Civ. P. 37(a).                                                    
The scope of what type of discovery may be compelled under Rule 37 is 
defined, in turn, by Rule 26(b)(1) of the Federal Rules of Civil Procedure, which 
provides that:                                                            
Unless otherwise limited by court order, the scope of discovery is as 
follows:  Parties  may  obtain  discovery  regarding  any  nonprivileged 
matter that is relevant to any party's claim or defense and proportional 
to the needs of the case, considering the importance of the issues at 
stake in the action, the amount in controversy, the parties' relative 
access to relevant information, the parties' resources, the importance of 
the discovery in resolving the issues, and whether the burden or expense 
of the proposed discovery outweighs its likely benefit. Information  
within this scope of discovery need not be admissible in evidence to be 
discoverable.                                                        

Fed. R. Civ. P. 26(b)(1).                                                 

Rulings regarding the proper scope of discovery, and the extent to which 
discovery may be compelled, are matters consigned to the court’s discretion and 
judgment. Thus, it has long been held that decisions regarding Rule 37 motions are 
Acommitted  to  the  sound  discretion  of  the  district  court.@  DiGregorio  v.  First 
Rediscount Corp., 506 F.2d 781, 788 (3d Cir. 1974). Similarly, issues relating to the 
scope of discovery permitted under Rule 26 also rest in the sound discretion of the 
Court.  Wisniewski  v.  Johns-Manville  Corp.,  812  F.2d  81,  90  (3d  Cir.  1987). 
Therefore, a court’s decisions regarding the conduct of discovery will be disturbed 
only upon a showing of an abuse of discretion. Marroquin-Manriquez v. I.N.S., 699 
F.2d 129, 134 (3d Cir. 1983). Likewise, discovery sanction decisions rest in the 

sound discretion of the court. Grider v. Keystone Health Plan Cent., Inc., 580 F.3d 
119, 134 (3d Cir. 2009). This far-reaching discretion extends to rulings by United 
States Magistrate Judges on discovery matters. In this regard:            

District  courts  provide  magistrate  judges  with  particularly  broad 
discretion in resolving discovery disputes. See Farmers &amp; Merchs. Nat'l 
Bank v. San Clemente Fin. Group Sec., Inc., 174 F.R.D. 572, 585      
(D.N.J.1997).  When  a  magistrate  judge's  decision  involves  a   
discretionary [discovery]  matter . . . , Acourts in this district have 
determined that the clearly erroneous standard implicitly becomes an 
abuse of discretion standard.@ Saldi v. Paul Revere Life Ins. Co., 224 
F.R.D. 169, 174 (E.D.Pa.2004) (citing Scott Paper Co. v. United States, 
943 F.Supp. 501, 502 (E.D.Pa.1996)). Under that standard, a magistrate 
judge's discovery ruling Ais entitled to great deference and is reversible 
only for abuse of discretion.@ Kresefky v. Panasonic Commc'ns and    
Sys.  Co.,  169  F.R.D.  54,  64  (D.N.J.1996);  see  also  Hasbrouck  v. 
BankAmerica  Hous.  Servs.,  190  F.R.D.  42,  44-45  (N.D.N.Y.1999) 
(holding that discovery rulings are reviewed under abuse of discretion 
standard rather than de novo standard); EEOC v. Mr. Gold, Inc., 223  
F.R.D. 100, 102 (E.D.N.Y.2004) (holding that a magistrate judge's    
resolution of discovery disputes deserves substantial deference and  
should be reversed only if there is an abuse of discretion).         

Halsey v. Pfeiffer, No. 09-1138, 2010 WL 3735702, *1 (D.N.J. Sept. 17, 2010). 
When  presented  with  claims  that  discovery  disclosures  may  reveal 
confidential trade secret information, it is also well-settled that:      
[T]he Federal Rules of Civil Procedure expressly recognize that this 
type  of  trade  information  may  be  protected  from  disclosure  and 
specifically authorize courts to enter orders “requiring that a trade 
secret  or  other  confidential  research,  development,  or  commercial 
information  not  be  revealed....”  Fed.R.Civ.P.  26(c)(1)(G).  The 
paradigm for assessing requests for compelled disclosure of trade secret 
information involves a straightforward assessment of the competing   
interests of the parties. In this setting:                           

     The courts have developed a balancing test for discovery        
     of information that one party claims would result in undue      
     harassment,  oppression,  or  embarrassment.  This  test        
     requires  the  trial  judge  to  weigh  the  interests  of  both 
     parties  in  deciding  whether  or  not  to  protect  the       
     information. A three pronged test has developed in regards      
     to trade secrets. For a protective order to be granted, a       
     party must show that the information is confidential and        
     that the disclosure would be harmful. The burden then           
     shifts  to  the  party  seeking  disclosure  to  show  that  the 
     information sought is relevant and necessary at this point      
     in  the  litigation.  Centurion  Industries,  Inc.  v.  Warren  
     Steurer and Associates, 665 F.2d 323 (10th Cir.1981);           
     Empire  of  Carolina  v.  Mackle,  108  F.R.D.  323             
     (S.D.Fla.1985).                                                 

Kaiser Aluminum &amp; Chemical Corp. v. Phosphate Engineering and        
Const.  Co.,  Inc.,  153  F.R.D.  686,  688  (M.D.  Fla.  1994).  See  also 
Mannington Mills, Inc. v. Armstrong World Indus., Inc., 206 F.R.D.   
525, 528 (D. Del. 2002).                                             

RyCon Specialty Foods, Inc. v. Wellshire Farms, Inc., No. 1:09-CV-2092, 2011 WL 
1342998, at *7 (M.D. Pa. Apr. 7, 2011), report and recommendation adopted, No. 
1:09-CV-2092, 2011 WL 1988016 (M.D. Pa. May 23, 2011). The law also prescribes 
the applicable burdens of proof and persuasion for those who seek to prevent the 
disclosure of otherwise relevant evidence on commercial confidentiality grounds. In 
this regard:                                                              
Under Rule 26(c)(7), a protective order may issue to protect trade   
secrets  or  other  confidential  research,  development,  or  commercial 
information. Smith v. Bic Corp., 869 F.2d 194, 199 (3d Cir. 1989). The 
party seeking protection has the burden of showing that it is entitled to 
the protection sought. Gulf Oil Co. v. Bernard, 452 U.S. 89, 102 n.16, 
101 S.Ct. 2193, 68 L.Ed.2d 693 (1981). Establishing that a particular 
document is a trade secret requires specific showings, and the party 
seeking to shield potentially responsive information from disclosure as 
a  trade  secret  faces  a  high  burden.  Bimbo  Bakeries  USA,  Inc.  v. 
Botticella,  613  F.3d  102,  109-110  (3d  Cir.  2010).  “Good  cause  is 
established on a showing that disclosure will work a clearly defined and 
serious injury to the party seeking [to prevent] disclosure. The injury 
must be shown with specificity.” Publicker Indus., Inc. v. Cohen, 733 
F.2d  1059,  1071  (3d  Cir.  1984).  “Broad  allegations  of  harm, 
unsubstantiated by specific examples or articulated reasoning” will not 
establish good cause. Cipollone v. Liggett Group, Inc., 785 F.2d 1108, 
1121 (3d Cir. 1986).                                                 
Jeddo Coal Co. v. Rio Tinto Procurement (Singapore) PTD Ltd., No. 3:16-CV-621, 
2018 WL 1635153, at *3 (M.D. Pa. Apr. 5, 2018).                           
Further, we may authorize disclosure pursuant to an attorneys’ eyes only 
protective order. Such limited disclosure may be particularly appropriate where the 
information  sought  is  relevant,  but  it  is  alleged  that  wholesale  disclosure  to  a 
competitor might result in unfair harm. As one court has observed:        
“In general, courts utilize ‘attorneys' eyes only’ protective orders when 
especially sensitive information is at issue or the information is to be 
provided to a competitor.” Westbrook v. Charlie Sciara &amp; Son Produce 
Co., Inc., No. 07–2657, 2008 WL 839745, at *4 (W.D.Tenn. Mar.27,     
2008) (citing cases). See also Arvco Container Corp. v. Weyerhaeuser 
Co., No. 1:08–CV–548, 2009 WL 311125, at *5 (W.D.Mich. Feb.9,        
2009) (“To be sure, courts in many circumstances have found that a   
specific  showing  of  competitive  harm  justifies  a  restriction  of 
confidential or trade secret information to ‘attorney's eyes only.’ ”). The 
party  moving  for  the  restrictive  AEO  designation  must  detail  the 
alleged harm it is likely to suffer absent the requested protection “with 
a particular and specific demonstration of fact, as distinguished from 
stereotyped and conclusory statements.” Nemir v. Mitsubishi Motors,  
Corp., 381 F.3d 540, 550 (6th Cir.2004) (quoting Gulf Oil Co. v.     
Bernard, 452 U.S. 89, 102 n. 16, 101 S.Ct. 2193, 68 L.Ed.2d 693      
(1981)).  In  determining  whether  good  cause  exists  for  an  AEO 
designation,  courts  must  balance  “the  difficulties  imposed  upon 
plaintiff  against  the  need  to  protect  information  from  abuse  by 
competitors.” Arvco Container, 2009 WL 311125, at *6.                
U.S. ex rel. Daugherty v. Bostwick Labs., No. 1:08-CV-354, 2013 WL 3270355, at 
*2 (S.D. Ohio June 26, 2013).                                             
Finally, in a case such as this where we are called upon to interpret and apply 
a  stipulated  protective  order  that  reflected  the  considered  mutual  judgment  of 
counsel regarding how best to protect and use sensitive information, we are enjoined 
to treat the stipulated protective order as a contract and:               
[L]ook to the plain language of the Protective Order to determine its 
meaning  [since]  “Pennsylvania  follows  the  plain  meaning  rule  of 
contract interpretation, such that when a written contract is clear and 
unequivocal, its meaning must be determined by its contents alone.”  
Sloan &amp; Co. v. Liberty Mutual Ins. Co., 653 F.3d 175, 180 (3d Cir.   
2011) (internal citation and quotation marks omitted). “The court must 
interpret the contract in a manner that gives reasonable meaning to all 
of its provisions and gives effect to all provisions of the contract.” 
Grove  v.  Johnson  Controls,  Inc.,  Civil  No.  1:12–CV–02622,  2016 
WL1271328, at *15 (M.D. Pa. Mar. 31, 2016) (slip copy). “Contract    
provisions are to be interpreted so as to give each provision meaning, 
rather than rendering some provisions superfluous.” Carter v. Exxon  
Co. USA, a Div. of Exxon Corp., 177 F.3d 197, 206 (3d Cir. 1999).    

Scranton Prod., Inc. v. Bobrick Washroom Equip., Inc., 190 F. Supp. 3d 419, 442 
(M.D. Pa. 2016). Yet, while we use the plain language of the stipulated protective 
order as our initial guidepost in resolving discovery disputes governed by some 
stipulated order, in specific limited circumstances we may go beyond the terms of 
that order, provided the party seeking a deviation from the terms of the protective 

order  makes  an  exacting  showing  of  a  need  to  depart  from  the  parties’  prior 
agreement. Simply put:                                                    
Although courts have discretionary authority to modify a stipulated  
protective order, the burden of demonstrating that an agreed protective 
order should be modified is on the moving party. Omega Homes, Inc.   
v. Citicorp Acceptance Co., 656 F.Supp. 393, 403 (W.D. Va. 1987);    
Zenith Radio v. Matsushita Elec. Indus. Co., 529 F.Supp. 866, 894    
(E.D. Pa. 1981) . . .. [I]f a dispute arises as to the confidentiality of 
materials bearing such a designation, the party asserting confidentiality 
has the burden of proving that the material in question are within the 
scope of protection afforded by Fed. R. Civ. P. 26(c).               
Phillips Petroleum Co. v. Rexene Prod. Co., 158 F.R.D. 43, 46 (D. Del. 1994). 

     B. This Motion to Compel Will be Granted in Part and Denied in  
       Part.                                                         

Guided by these legal tenets, we turn to the instant motion. As we have noted, 
in this motion to compel, Rotex seeks two forms of relief. First, Rotex invites us to 
direct GDW to re-designate its customer information as simply “Confidential” rather 
than “Highly Confidential.” This re-designation, if ordered by the court, would allow 
Rotex officials to gain direct access to the customer lists of its competitor GDW. 
We  will  decline  this  invitation  and  deny  this  aspect  of  Rotex’s  motion. 
Treating the stipulated protective order as a contract, Scranton Prod., Inc. v. Bobrick 
Washroom Equip., Inc., 190 F. Supp. 3d 419, 442 (M.D. Pa. 2016), and applying 
familiar principles of contract interpretation, we conclude that Rotex is not entitled 
to this relief under the plain language of the protective order agreed to by these 
parties, which clearly states that:                                       

For purposes of this Protective Order, the term “Highly Confidential” 
shall  mean  any  and  all  Confidential  Material  that  qualifies  as 
“Confidential” and further relates to financial information about the 
party,  future  business  plans,  pending  patent  applications,  customer 
information,  competitive  information,  product  formulation  details, 
trade secret information, or proprietary computer source code.       

(Doc. 73, ¶ 4) (emphasis added).                                          

This definition of “Highly Confidential” information by its terms embraces 
customer information like that designated highly confidential by GDW. Therefore, 
a straightforward interpretation of the order indicates that this information has been 
properly  designated  as  “Highly  Confidential,”  and  there  is  no  basis  under  the 
protective order itself for a re-designation of this data. Moreover, Rotex has not 
pleaded or proven any exceptional circumstances which would justify a modification 
of this protective order to release this otherwise highly confidential information.  See 
Phillips Petroleum Co. v. Rexene Prod. Co., 158 F.R.D. 43, 46 (D. Del. 1994). On 
the other hand, GDW persuasively argues that providing these customer lists directly 
to representatives of its competitor, Rotex, could result in competitive harm to 
GDW, the very evil which a “Highly Confidential” designation is designed to avoid. 
See U.S. ex rel. Daugherty v. Bostwick Labs., No. 1:08-CV-354, 2013 WL 3270355, 
at *2 (S.D. Ohio June 26, 2013).                                          
However,  to  the  extent  that  Rotex’s  motion  concedes  the  “Highly 
Confidential” status of this customer information but requests that GDW be required 

to release this customer data in an unredacted form, the motion will be granted. 
At the outset, we note that the parties’ stipulated protective order does not 
appear to prescribe a process for document redaction. Therefore, this aspect of 

Rotex’s motion does not appear to be  controlled by the plain language of the 
protective order. Instead, as to this component of Rotex’s motion to compel, we are 
guided by the principles of relevance which control discovery generally. Those 
guiding principles tell us that:                                          

Parties may obtain discovery regarding any nonprivileged matter that 
is relevant to any party's claim or defense and proportional to the needs 
of the case, considering the importance of the issues at stake in the 
action, the amount in controversy, the parties' relative access to relevant 
information, the parties' resources, the importance of the discovery in 
resolving the issues, and whether the burden or expense of the proposed 
discovery outweighs its likely benefit. Information within this scope of 
discovery need not be admissible in evidence to be discoverable.     

Fed. R. Civ. P. 26(b)(1).                                                 

In terms of the relevance of this information, Rotex proffers that the identity 
of the GDW customers is an important element of proof in Rotex’s claims that GDW 
infringed its patent and then used that infringed patent to market equipment to Rotex 
customers, since this information would demonstrate which former Rotex customers 
later purchased infringing goods from GDW and would reveal the overlap between 
the two firm’s potential customer bases in these allegedly infringing goods. For its 
part, GDW disputes Rotex’s claims and asserts that this proffer of relevance, “while 
superficially appealing,” is flawed since other factors may potentially also affect 

Rotex’s sales. (Doc. 135, at 17).                                         
At the risk of seeming to be superficial, we find that Rotex’s proffer of 
relevance is more than superficially appealing. It is entirely persuasive when judged 

against the discovery standards prescribed by Rule 26, which authorize disclosure 
of “matter that is relevant to any party's claim or defense and proportional to the 
needs of the case.” Fed. R. Civ. P. 26(b)(1). Additionally, under Rule 401 of the 
Federal Rules of Evidence:                                                

Evidence is relevant if:                                             

(a) it has any tendency to make a fact more or less probable than it 
would be without the evidence; and                                   

(b) the fact is of consequence in determining the action.            
Fed. R. Evid. 401.                                                        
Here, the customer information sought by Rotex is clearly relevant to any 
damages calculation since it would provide a basis for determining whether and to 
what extent GDW sold allegedly infringing articles to former or current customers 
of Rotex. Thus, depending upon an analysis of this information, GDW’s customer 
information would have a tendency to make a fact of consequence in this litigation—
Rotex’s  proof  of  lost  sales  due  to  GDW’s  marketing  of  allegedly  infringing 
articles—either more or less probable than it would be without the evidence. Further, 
GDW’s objection to the release of this information based upon its assertion that other 
factors may have also affected Rotex’s sales is unavailing. This argument confuses 

the concepts of relevant and conclusive evidence. In order to be discoverable, this 
information need only be relevant; that is, it only needs to have the tendency to make 
a fact more or less likely than it would have been without the evidence. This 

information does not have to be conclusive, however. Therefore, the fact that GDW 
argues that other factors could also affect Rotex’s sales does not rob this evidence 
of potential relevance.                                                   
Finally, we note that we have considered the collateral harm which could flow 

to GDW as a result of the disclosure of this information in an unredacted form but 
note that the highly confidential designation of this information, which we have 
sustained, adequately protects this data from disclosure to representatives of Rotex, 

who might gain some unfair competitive commercial advantage through a direct 
disclosure  of  this  data.  Therefore,  we  conclude  that  the  restrictions  that  were 
carefully  crafted  by  the  parties  in  their  stipulated  protective  order  sufficiently 
address GDW’s concerns regarding potential misuse of this otherwise relevant data. 

Having  reached  these  conclusions,  we  will  deny  Rotex’s  request  to  re-
designate this data, but grant their request to have this customer information released 
as “Highly Confidential” data but in an unredacted form.                  

An appropriate order follows.                                        
       IN THE UNITED STATES DISTRICT COURT                           
    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA                          

ROTEX GLOBAL, LLC                  :                                      
                              :    CIV NO. 1:17-CV-2118              
                              :                                      
     Plaintiff,               :    (Chief Judge Conner)              
                              :                                      
v.                                 :    (Magistrate Judge Carlson)        
                              :                                      
GERARD DANIEL WORLDWIDE, INC. :                                           
                              :                                      
     Defendant.               :                                      

                        ORDER                                        

In  accordance  with  the  accompanying  Memorandum  Opinion,  IT  IS 
ORDERED that Rotex’s Motion to Compel, (Doc.107), is GRANTED in part and  
DENIED in part as follows:                                                
First, to the extent that Rotex seeks to have highly confidential customer 
information of GDW re-designated as confidential, the motion is DENIED since the 
designation made by GDW is proper under the protective order and is fully justified 
in  order  to  avoid  direct  disclosure  of  customer  information  to  corporate 
representatives of Rotex.                                                 
Second, to the extent that Rotex’s motion seeks the release of this customer 
information in a highly confidential manner but without redaction the motion is 
GRANTED since the customer information is relevant to Rotex’s calculation of its 
potential losses, and the highly confidential designation of this information, which 
we have sustained, adequately protects this data from representatives of the opposing 

party, who might gain some unfair competitive commercial advantage through a 
direct disclosure of this data.                                           
So ordered this 11th day of October 2019.                            

                                   /s/ Martin C. Carlson             
                                   Martin C. Carlson                 
                                   United States Magistrate Judge    